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AFL
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERNDISTRICT OF ALABAMA                       ILED IN OPEN COURT
                               NORTHERN DIVISION                                   MAy 28 211
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UNITEDSTATESOFAMERICA                               '„„.    ~o. =5-'-- /07,
                                                    USAO NO. 24RO0449
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                                                    VIOLATIONS: 21 USC §846
WILLIAM HOWARDARNOLD,a/k/a                                          21 USC §843(a)(3)
WILLIAM HOWARDARNOLD.II.   *
a/k/a WILLIAM ARNOLD,                       R
a/k/a/ WILL ARNOLD                          *

                                       INDICTMENT

THE GRAND JURY CHARGES:

                                    COUNT ONE
     Conspiracy to Obtain a Controlled Substanceby Fraud with a Forged Prescription
                           Title 21, United States Code, Section 846

       On or about September 16, 2022, in the Southern District of Alabama, Northern Division,

and elsewhere, the defendant,

                             WILLIAM HOWARD ARNOLD.
                         a/k/a WILLIAM HOWARD ARNOLD, II,
                                a/k/a WILLIAM ARNOLD,
                                  a/k/a WILL ARNOLD,

did willfully, knowingly, and unlawfblly conspire with other persons, both known and unknown

to the Grand Jury, including N.R., whose full name is known to the Grand Jury, to obtain a

Schedule V controlled substance, namely, approximately one pint of Promethazine cough syrup

with Codeine, at a Walgreen’s pharmacy in Selma, Alabama.

       In violation of Title 21, United StatesCode, Section 846.




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                                        COUNT TWO
                            Obtaining ControlledSubstanceby Fraud
                          Title 211 United States CodeT Section 843(a)(3)

       On or about September 16, 2022, in the Southern District of Alabama, Northern Division,

and elsewhere, the defendant,

                               WILLIAM HOWARD ARNOLD,
                           a/k/a WILLIAM HOWARD ARNOLD, II,
                                  a/k/a WILLIAM ARNOLD,
                                     a/k/a WILL ARNOLD,

aided and abettedby other persons, both known and unknown to the Grand Jury, including N.R.,

knowingly and intentionally obtained approximately one pint ofPromethazine cough syrup with

Codeine, a ScheduleV controlled substance,by misrepresentation, fraud, forgery, deception, and

subterfuge, to-wit: by submitting to a pharmacy a forged prescription purportedly written by a

physician identified by his initials S.A., whose full name is known to the Grand Jury.

       In violation of Title 21, United StatesCode, Sections 841(a)(3) and 2.




SEANP. COSTELLO
UNITED STATESATTORNEY




ALEX F. LANKFORD,IV


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          FedStatesAttorney
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Assistant United States
Chief.CriminalDivision                                      MAY 2025
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